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                              UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF KENTUCKY


In Re: TORU PAUL MAY                                                                       Case No:
                                                                                           18-33923




                  CHAPTER 13 TRUSTEE'S MOTION FOR A STATUS CONFERENCE

     Comes the Chapter 13 Trustee, William W. Lawrence, pursuant to 11 U.S.C. 105(d), and moves the Court
to set a status conference in this case. This status conference is necessary to further the expeditious and
economical resolution of this confirmed Chapter 13 case. In support of this Motion, the Chapter13 Trustee
states that the purpose of this status conference is the following:

 ATTY NEEDS TO ADDRESS CLAIM #4

  WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court set a Status Conference in this
case.




                                                                          /s/William W. Lawrence
                                                                          William W. Lawrence,Trustee
                                                                          200 S. Seventh St., Suite 310
                                                                          Louisville, KY 40202
